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                       SETTLEMENT AGREEMENT AND RELEASE

     This Settlement Agreement and Release, dated as of January_15_, 2021, is entered into
     by the parties in Reyes v. Clarke et al., Case No. 2:19-cv-0035-JPJ-PMS, currently
     pending in the United States District Court for the Western District of Virginia.

     The plaintiff is Nicolas Reyes (“Plaintiff”). The Plaintiff is represented by Vishal
     Agraharkar and Eden Heilman of the ACLU of Virginia, Maggie Filler of the Roderick and
     Solange MacArthur Justice Center, Alan Swirski, Alejandro Guadarrama, Jaclyn Roeing
     and Lauren Oppenheimer (“Plaintiff’s Counsel”).

     The Defendants are Harold Clarke, A. David Robinson, Jeffrey Kiser, Randall Mathena,
     Arvil Gallihar, Amee Duncan, Larry Collins, Justin Kiser, Christopher Gilbert, Garry
     Adams, James Lambert, Terrance Huff, and Donnie Trent (collectively, the “VDOC
     Defendants” or “VDOC”). The VDOC defendants are represented by Margaret Hoehl
     O’Shea at the Office of the Attorney General and Maya Eckstein of Hunton Andrews
     Kurth, LLP. Earl Barksdale, William Lee, and Steven Herrick are not party to this
     agreement and will be separately dismissed.

     The parties agree as follows:

     1.     Dismissal of Case No. 2:19cv00035: The Parties shall, by and through their
            attorneys, cause the Complaint pending in the Western District of Virginia, Case
            No. 2:19cv00035, to be voluntarily dismissed. The parties consent to the
            reservation and exercise of jurisdiction by the U.S. District Court over all disputes
            between and among the Parties arising out of this Agreement for the period set forth
            in Paragraph 24 of this Agreement.

     2.     Settlement Payment: In full and fair settlement of this matter, but without
            admitting liability, the VDOC Defendants, by and through the Commonwealth of
            Virginia, agree to pay to Plaintiff, within 60 days of the date of this settlement, the
            sum of one hundred fifteen thousand dollars ($115,000) for alleged damages
            suffered on account of personal physical injuries and physical sickness. The check
            shall be made payable to the order of ACLU Foundation of Virginia in trust for
            Nicolas Reyes, and delivered to the attention of Vishal Agraharkar. This figure
            includes any costs, expenses, and/or attorneys’ fees which Plaintiff may otherwise
            have been entitled to recover against the Commonwealth.

     3.     Expedited ICA Hearing: VDOC Defendants agree to hold an expedited ICA
            hearing no later than six months from the date of settlement to evaluate Plaintiff’s
            security level and appropriate housing placement. As part of the ICA hearing,
            VDOC agrees to consider materials provided by Plaintiff’s Counsel and to provide
            Plaintiff’s Counsel with at least one week’s notice of the date of the ICA hearing.
            The recommendation as to whether the Plaintiff’s security level should be
            decreased will be made in accordance with VDOC policy and based upon all of the
            circumstances being considered by the reviewer. Although the ICA hearing will
            occur at six months rather than as an annual review hearing, VDOC agrees that it

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           will not deny Plaintiff a re-classification to lower security solely on the basis that
           Plaintiff has been at Level 5 for six months prior to the ICA hearing, as opposed to
           the usual twelve months.

              a. If Plaintiff is re-classified to Security Level 4 or below as a result of the six-
                 month ICA hearing, VDOC will assess the suitability of transferring
                 Plaintiff to the SAM Unit at Buckingham Correctional Center at that time.

              b. If Plaintiff is reclassified to Security Level 4 or below as a result of the six-
                 month ICA hearing, but not transferred to Buckingham Correctional Center
                 at that time, VDOC will consider whether it would be appropriate to transfer
                 him to a prison located within a three hours’ drive from Alexandria,
                 Virginia, and as part of that evaluative process, will consider whether the
                 proposed transfer would result in his placement at a facility with a
                 significant number of Spanish-speaking staff.

              c. VDOC agrees to audio-record the six-month ICA hearing and provide a
                 copy of the recording to Plaintiff’s Counsel within 48 hours following the
                 hearing.

     4.    Single-Cell Status: VDOC agrees that Plaintiff shall be housed in a single-cell
           housing assignment for at least one year from the date of settlement, unless Plaintiff
           agrees during that one-year period to be reassigned to a double-cell housing
           assignment. Discussions between VDOC and Plaintiff about such a move to a
           double-cell housing assignment shall be done with the aid of a certified interpreter
           to ensure that Plaintiff fully understands the benefits and risks associated with the
           move. If Plaintiff voluntarily moves to a double-cell prior to the expiration of that
           one-year period and subsequently determines that he prefers a single-cell housing
           assignment, VDOC will promptly evaluate his request to return to a single-cell
           status. After one year of single-cell status and before moving Plaintiff to a double-
           cell, a multi-disciplinary treatment team including Plaintiff’s treating mental health
           providers shall meet to re-evaluate Plaintiff’s single-cell status before requiring that
           he move to a double-cell.

     5.    Interpretation Services: VDOC agrees that a certified interpreter will provide
           interpretation services for Plaintiff at all disciplinary hearings, classification
           hearings, and all scheduled mental health and medical visits. These services may
           be provided through the telephonic interpretation service provider under contract
           with VDOC. All staff responsible for conducting Plaintiff’s disciplinary and
           classification hearings and coordinating Plaintiff’s medical and mental health care
           will be notified of this provision and of the process for using telephonic
           interpretation services.

     6.    Mental Health: VDOC agrees that Plaintiff will receive no fewer than one
           scheduled mental health visit per month.



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              a. Such mental health visits will be conducted with the aid of a certified
                 interpreter (so that at least one mental health visit per month will be
                 conducted with the aid of a certified interpreter, as set out in Paragraph 5).
                 These services may be provided through the telephonic interpretation
                 service provider under contract with VDOC. This provision does not
                 preclude additional mental health visits from being scheduled and/or
                 conducted with the aid of a certified interpreter.

              b. In the event of a medical or mental health emergency, every effort will be
                 made to provide appropriate interpretation services during the emergency
                 response, such as interpretation through a Spanish-speaking VDOC staff
                 member, or making the telephone interpretation service available through a
                 portable phone.

     7.    Language Access Policy: VDOC agrees to adopt, before the end of the federal
           court jurisdictional period, a permanent language access policy ensuring that all
           Limited English Proficient (LEP) persons are provided meaningful access to
           Departmental facilities, programs, and activities. In drafting the policy VDOC will
           consult the draft policy prepared by Plaintiff’s Counsel and provide Plaintiff’s
           Counsel additional opportunities to provide input on the policy including by
           commenting on a proposed final draft of VDOC’s language access policy and
           attending at least one meeting regarding a draft of the proposed policy. VDOC will
           notify Plaintiff’s Counsel upon adoption of a final version of the language access
           policy and provide Plaintiff’s Counsel a copy of said policy.

     8.    LEP Coordinator and Monitors: VDOC agrees to designate one system-wide
           LEP Coordinator and to designate one LEP Monitor for every facility. The LEP
           Coordinator in conjunction with the LEP Monitors will be tasked with overseeing
           implementation of the language access policy. VDOC will notify Plaintiff’s
           Counsel once the LEP Coordinator and LEP Monitors have been designated and
           will provide Plaintiff’s Counsel a listing of the LEP Coordinator’s and Monitors’
           names, titles, and contact information.

     9.    Ongoing Monitoring and Access to Counsel/ Mental Health Professionals:

              a. Between the date of settlement and the date of the expedited six-month ICA
                 hearing, Plaintiff’s Counsel will be provided the ability to meet with
                 Plaintiff twice a month via confidential videoconference. Mental health
                 professionals selected by his counsel may participate in these
                 videoconferences.

              b. For the six-month period following the execution of this Agreement, VDOC
                 will provide Plaintiff’s Counsel, on the 5th business day of each month,
                 with Plaintiff’s medical, mental health, ICA, disciplinary, programming,
                 and grievance/informal complaint records, as well as records sufficient to
                 show compliance with the requirement that Plaintiff receive certified
                 interpretation services consistent with this Agreement. The records shall be

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                  transmitted to Plaintiff’s Counsel via email or other electronic
                  communication.

              c. If Plaintiff is placed in a restrictive housing unit at any point during his
                 incarceration, VDOC will notify Plaintiff’s Counsel and he will be allowed
                 a videoconference with counsel and a mental health professional chosen by
                 Plaintiff’s counsel within 48 hours of placement unless security
                 considerations or other unforeseen circumstances prevent that
                 videoconference from occurring during those initial 48 hours, in which case
                 VDOC will work with counsel to conduct that conference at the earliest
                 feasible opportunity. If VDOC is unable to contact Plaintiff’s Counsel,
                 VDOC will notify the Executive Director of the ACLU of Virginia or the
                 Executive Director of the MacArthur Justice Center.

     10.   Adjustment of Mandatory Parole Release Date: VDOC agrees to reclassify
           Plaintiff as Good Time Earning Level 1 for the period of time corresponding from
           April 3, 2010 through the present, and to additionally restore the 90 days of lost
           good time credit as the result of a 2012 disciplinary hearing, and to reflect that
           recalculation in his VDOC records. VDOC represents that, following these
           recalculations, Plaintiff’s mandatory parole release date will be adjusted to
           February 1, 2027.

     11.   Non-Retaliation Provision: VDOC agrees to ensure that Plaintiff does not face
           retaliation by VDOC employees or agents as a result of this settlement or exercising
           any of the rights herein.

     12.   Notification to VDOC Employees, Agents, Contractors: VDOC agrees to
           include a copy of this Agreement in Plaintiff’s institutional file and will take all
           reasonable efforts to ensure that its employees, agents and contractors are aware of
           the provisions of this Agreement and of their obligations to comply with its terms.

     13.   Releases: The undersigned Parties unconditionally release and discharge each
           other, their agents, representatives, insurance carriers, attorneys, predecessors-in-
           interest, successors-in-interest, heirs, assigns and personal representatives, in their
           individual and representative capacities (collectively, the “Released Parties”), from
           any and all charges, complaints, claims, liabilities, obligations, promises,
           agreements, causes of action, rights, costs, losses, debts and expenses of any nature
           whatsoever, now known, which they ever had or now have by reason of any matter,
           fact or cause asserted in Case No. 2:19cv00035. This Release specifically
           encompasses only those claims, whether under federal or state law, that have been
           brought against the Commonwealth of Virginia, the Virginia Department of
           Corrections, or any employees, officers, or agents thereof in Case No. 2:19cv00035.
           Nothing in this Paragraph shall preclude the Plaintiff from asserting a future claim
           concerning his mental health, his religious rights, or any other right or privilege that
           he may have, under federal law, state law or other applicable law.



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     14.   No Admission of Liability: The Plaintiff acknowledges that this Agreement does
           not constitute an admission by the Defendants of any: (a) liability; (b) violation of
           any federal, state or local statute, law, regulation, order or other requirement of law;
           (c) breach of contract, actual or implied; (d) commission of any tort; or (e) other
           civil wrong.

     15.   Virginia Law Applies: This Agreement shall be deemed to have been made within
           the Commonwealth of Virginia and shall be interpreted, construed and enforced in
           accordance with the laws of the Commonwealth of Virginia. This Agreement shall
           not be construed with a presumption against the Party causing this Agreement to be
           drafted. This Paragraph is intended only to address the law applicable to the
           interpretation and enforcement of this Agreement, and not to affect the law that
           may be applicable to any future claims that the Plaintiff may assert for relief outside
           of this Agreement.

     16.   Severability: If one or more provisions of this Agreement shall be ruled
           unenforceable or void, the Parties may enforce the remainder of this Agreement.

     17.   Non-Waiver: Failure of either Party to enforce any provision of this Agreement
           shall not be construed as a waiver of that or any other provision.

     18.   Voluntary Agreement: The Plaintiff has had an opportunity to consult with an
           attorney regarding execution of this Agreement. The Plaintiff acknowledges that,
           in authorizing this Agreement, he relied only on the promises set forth in this
           Agreement and not on any other promise made by the Commonwealth. This
           Agreement has been entered into freely, knowingly, and voluntarily and not as a
           result of coercion, duress, or undue influence.

     19.   Entire Agreement: This Agreement constitutes the entire understanding and
           agreement between the Parties hereto with respect to its subject matter. This
           Agreement supersedes all other understandings, agreements, communications or
           negotiations (whether written or oral) between the Parties hereto with respect to
           such subject matter.

     20.   Written Amendment Required: This Agreement may not be amended, changed
           or altered, except by a writing signed by the Parties.

     21.   Binding Obligations: This Agreement shall be binding upon and inure to the
           benefit of the Parties hereto and their respective successors including future
           Directors of the Virginia Department of Corrections, their assigns, agents, and all
           others working for or on behalf of the Parties.

     22.   Authority to Bind: Each individual executing this Agreement represents and
           warrants that such person is authorized to do so, and, that upon executing this
           Agreement, this Agreement shall be binding and enforceable in accordance with its
           terms upon the party or parties for whom such individual is acting. The parties
           further agree that undersigned counsel have the authority to enter into and execute
           this Agreement on behalf of their clients.
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